Case 2:13-cv-02468-CAS-AGR Document 88 Filed 03/09/15 Page 1 of 2 Page ID #:3194




    1 DOSTART CLAPP HANNINK & COVENEY, LLP
      JAMES F. CLAPP (145814)
    2 jclapp@sdlaw.com
      JAMES T. HANNINK (131747)
    3 jhannink@sdlaw.com
      ZACH P. DOSTART (255071)
    4 zdostart@sdlaw.com
      4370 La Jolla Village Drive, Suite 970
    5 San Diego, California 92122-1253
      Tel: 858-623-4200
    6 Fax: 858-623-4299
    7 LAW OFFICES OF ZEV B. ZYSMAN
      A Professional Corporation
    8 ZEV B. ZYSMAN (176805)
      zev@zysmanlawca.com
    9 15760 Ventura Boulevard
      16th Floor
   10 Encino, California 91436
      Tel: 818-783-8836
   11 Fax: 818-783-9985
   12 Attorneys for Plaintiffs
   13
   14                         UNITED STATES DISTRICT COURT
   15           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   16
   17 STEVEN ADES and HART                      CASE NO. 2:13-cv-02468 CAS (MANx)
      WOOLERY, on behalf of themselves
   18 and all others similarly situated,        NOTICE OF MOTION AND
                                                MOTION TO MODIFY
   19               Plaintiffs,                 SCHEDULING ORDER
   20 vs.                                       Date:    April 6, 2015
                                                Time:    10:00 a.m.
   21 OMNI HOTELS MANAGEMENT                    Ctrm.:   5
      CORPORATION and DOES 1 through            Judge:   Christina A. Snyder
   22 100, inclusive,
   23               Defendants.
   24
   25
   26
   27
   28

        NOTICE OF MOTION AND MOTION TO MODIFY SCHEDULING ORDER
Case 2:13-cv-02468-CAS-AGR Document 88 Filed 03/09/15 Page 2 of 2 Page ID #:3195




    1              PLEASE TAKE NOTICE that on April 6, 2015, at 10:00 a.m., or as soon
    2 thereafter as the matter can be heard in Courtroom 5 of the United States District
    3 Court for the Central District of California, located at 312 North Spring Street, Los
    4 Angeles, CA 90012-4701, Plaintiff Steven Ades will and hereby does move for an
    5 order modifying the Scheduling Order in this action.
    6              This motion is made pursuant to Rule 16(b)(4) of the Federal Rules of Civil
    7 Procedure and is made upon the ground that there is good cause to modify the
    8 Scheduling Order because the current discovery and related case deadlines cannot
    9 reasonably be met despite plaintiffs’ diligence, and refusal to allow modification
   10 would result in prejudice to plaintiffs, whereas allowing modification will not cause
   11 any prejudice to defendant.
   12              This Motion is based on this Notice of Motion and the accompanying
   13 Memorandum of Points and Authorities, the Declaration of James T. Hannink filed
   14 herewith, the pleadings and papers on file in this action, and upon any other oral or
   15 documentary evidence as the Court may consider at the time of the hearing.
   16              This motion is made following the conference of counsel pursuant to L.R. 7-3
   17 which took place on February 23, 2015.
   18
   19 Dated: March 9, 2015                     DOSTART CLAPP HANNINK &
                                               COVENEY, LLP
   20
   21
                                               s/ James T. Hannink
   22
                                               JAMES T. HANNINK
   23                                          Attorneys for Plaintiffs
        695690.1
   24
   25
   26
   27
   28
                                                     2
        NOTICE OF MOTION AND MOTION TO MODIFY SCHEDULING ORDER
